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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:13CR3115
      vs.
                                                    MEMORANDUM AND ORDER
JUSTIN LEE ORSTAD,
                    Defendants.


       The defendant Justin Lee Orstad is eligible for appointed counsel pursuant to the
Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for
the District of Nebraska.

       IT IS ORDERED:

       1)     Alan G. Stoler is appointed as attorney of record for the above-named
              defendant in this matter and shall forthwith file an appearance in this case.

       2)     The Federal Public Defender’s Office shall forthwith provide counsel with
              a draft appointment order (CJA Form 20) bearing the name and other
              identifying information of the CJA Panel attorney identified in accordance
              with the Criminal Justice Act Plan for this district.

       3)     The Clerk shall provide a copy of this order to the Federal Public Defender
              for the District of Nebraska and Alan G. Stoler.

       4)     The Clerk shall re-generate all Notices of Electronic Filing for this case,
              including the NEF of the audio for the hearing held today, to provide them
              to Mr. Stoler.

       November 4, 2013.

                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
